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SANFORI) J. GERM AINE, PC

4040 Eaist Cainelbacl< Road, Suite ] 10
Phoenix, A:'izona 85()18

r`l`elephone: (6(}2) 953-5588

Fz)x: (602) 953-5590

Sani`ord J. Gerinaine (()12722)
sgermaine@germsine-law.com
Attorneys t`or: Lee & Assoeizttes

IN '1"]*§}§€ UNITED STATES BANKRUP"[`CY COUR"I"
DIS"[`RIC"I` OI? ARiZONA

Chapter fl
in re:
Ai_u_ssi\ii;z sii_J\/IS);R AND R<)NALD .i. C'L‘S@ NO- 2117‘51€'97624“31"1@
sl';__,\/I;`:R,

No'rlerc oF APPI§ARANCE ANI)
nsQUEs"r FoR si>ECIAL N()TICE ANI)
nsomz:s"r iron C()Pnts oF
ozsCLosuRE s'rA'rsM_I<:N'r ANl) 1>LAN
oat Rii<:oR<';ANI_ZATIoN

Debtors.

\_/\_/\..J\ /‘~_./\` ,'\~`,/\..,/\,/-../‘\../\./\....,/\..,¢'\.../

 

 

 

'I"O: CLERK OI*` "l"I‘-HE BANKRUP"]`CY C.()UR"I" AND /\!_,l,, ]’AR'I`]ES-IN-IN'I`IERES"}`
PLI:'EASE "i"AKl§`i N()"}"I.Cl§ that Sant`ord J. Germaine, PC, 404() Ez\st Camelbaek Road, Suite 110,
Phoenix, Arizona 8501 3, hereby requests on behalf of lee & Associates (“I_,ee”), a creditor in
the above~ret"erenced bankruptcy eztse, pursuant to Rule 2()(`}2, that a copy of` oil notices to
ereditors, equity security holders, iessors, ereditors’ eomniittees, or equity security holders’
committees whether sent by the Court, the Debtol'_, or any other party in this ease, also be sent to
the address set forth below.

in addition, pursuant to Bankruptey Ruie 3017(21), Lee also requests that amy Diselosure

Stateinent and Plan of Reorganizzition be limited to the undersigned at the same time as, and

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together With any notices of the hearing on the Diselosure Stateinent and that the following be
added to the Court’s l\/laster l\/lailing, List.

Sant`ord .l. Ger:n.aine, l`:§sq.

San'{"ord .l. Germaine, PC

4040 l§last Camelbaef< Road, Suite l 10
l)hoenix, Ari?_,ona 850] 8

DA'l`ED this 3"d day ol"§luly, 2()l 8.

SANI`*`ORD J. Gl§§Rl\/IAINE, PC

By /s/ San'l"ord J. Gerinaine #()12'722
Sanford .l. Germaine
4()40 East C.amelbaek Road, Suite l l()
Phoenix, Arizona 85018
Attorneys for l`_.ee

COPY of:` the l"oregoing mailed
this 31'd day of"}uly, 2018 to:

Kyle A. Kinney

]_,aw (f`)lrl'iees t)t’l§yfle A\. Kinney, l’l,.-l,i(fj
l7l 7 Nortl"i '7'7111 Street, Suit.e 6
Seott.sdalo /\i'iz,ona 35257

Attorneys t`or Debtors

/s/ San'l"ord J. Gennaine #0] 2722

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